            Case 1:12-cr-00299-LJO-SKO Document 71 Filed 02/27/13 Page 1 of 2



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 6 United States of America

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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            CASE NO. 1:12CR0283 LJO-SKO
12                                Plaintiff,              STIPULATION REGARDING
                                                          SETTING FOR CHANGE OF PLEA;
13                 v.                                     ORDER
14   CHRISTOPHER NORBERTO GALLEGOS,
15                                Defendant.
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendants, by
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19 and through their counsel of record, hereby stipulate as follows:

20          1.     By previous order, the above-captioned matter was set for a status conference before

21 U.S. Magistrate Judge Sheila K. Oberto on Monday, March 4, 2013, at 1:00 p.m.

22          2.     By this stipulation, the parties now move to set the matter for a change of plea before
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     U.S. District Judge Lawrence J. O’Neill for March 4, 2013, at 8:30 a.m.
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          Case 1:12-cr-00299-LJO-SKO Document 71 Filed 02/27/13 Page 2 of 2



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     IT IS SO STIPULATED.
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 3
     DATED:     February 27, 2013.   Respectfully submitted,
 4
                                     BENJAMIN B. WAGNER
 5                                   United States Attorney

 6
                                     /s/ Karen A. Escobar___________________
 7                                   KAREN A. ESCOBAR
                                     Assistant United States Attorney
 8
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10 DATED:       February 27, 2013.

11                                   /s/ W. Roger Litman _____________
                                     ROGER LITMAN
12                                   Counsel for Defendant
                                     CHRISTOPHER NORBERTO GALLEGOS
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15                                          ORDER

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     IT IS SO ORDERED.
22
       Dated:   February 27, 2013                                       /s/ Lawrence J. O’Neill
23                                                                    UNITED STATES DISTRICT JUDGE
                                                DEAC_Signature-END:




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